Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 1 of 15




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


  RUSTY115 CORP., et al.,

                  Plaintiffs,                                     CASE NO: 22-CIV-22541-JEM
  vs.

  BANK OF AMERICA, N.A.,

                  Defendant.

  _____________________________________

                         CERTIFICATE OF INTERESTED PERSONS
                        AND CORPORATE DISCLOSURE STATEMENT

          Pursuant to the Court’s “Order Setting Civil Trial Date and Pretrial Schedule, Requiring

  Mediation, and Referring Certain Motion to Magistrate Judge,” dated August 11, 2022, [D.E. 5],

  Plaintiffs Rusty115 Corp., Hopop Corp., Davidpop Corp., Rustypop Corp., Darusty Corp.,

  CCUR Holdings, Inc., Moncler Motors, LLC, BOE 25014, LLC, BOE 30868, LLC, BOE 30874,

  LLC, BOE 30875, LLC, BOE 34432, LLC, Dash 4542 LLC, Dash 4554 LLC, Dash 4555 LLC,

  CMG 777Escrow3, LLC, CMG 777Escrow4 LLC, CMG 777Escrow5 LLC, CMG

  DHC8Escrow7, LLC, Bayside Support Services, LLC, Edidin Partners, LLC, and CCUR

  Aviation Finance, LLC (collectively, the “Plaintiffs” or “Plaintiff entities”) hereby submit, to the

  best of their knowledge, the following Certificate of Interested Persons and Corporate Disclosure

  Statement.

          Plaintiffs state that no publicly held corporation owns 10% or more of any plaintiff entity,

  and further provide the following complete list of persons, associated persons, firms, partnerships

  or corporations that have a financial interest in the outcome of this case, including all subsidiaries,

  conglomerates, affiliates, parent corporations, and other identifiable legal entities related to a party:
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 2 of 15




  Counsel:

        Boies Schiller Flexner LLP (Counsel for Plaintiffs);

        Carlos M. Sires (Partner at Boies Schiller Flexner LLP);

        Pascual A. Oliu (Partner at Boies Schiller Flexner LLP);

        Stuart H. Singer (Partner at Boies Schiller Flexner LLP);

        John J. Kucera (Partner at Boies Schiller Flexner LLP);

        Allen P. Pegg (Counsel for Defendant);

        Hogan Lovells US LLP (Counsel for Defendant);

        Pamela A. Miller (Counsel for Defendant);

        Kobina A. Quaye (Counsel for Defendant);

        O’Melveny & Myers LLP (Counsel for Defendant).



  Rusty entities:

        Rusty115 Corp. (Plaintiff)

        Hopop Corp. (Plaintiff)

        Davidpop Corp. (Plaintiff)

        Rustypop Corp. (Plaintiff)

        Darusty Corp. (Plaintiff)

        Michael D. Horvitz Revocable Trust (Shareholder of the above Rusty entities)

  CCUR entities:

        CCUR Holdings, Inc. (Plaintiff)

             o Live Microsystems, Inc. (Shareholder of CCUR Holdings, Inc.)

        CCUR Aviation Finance, LLC (Plaintiff)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 3 of 15




  Moncler entities:

        Moncler Motors, LLC (Plaintiff)

             o Jonatan Sredni (Membership interest in Moncler Motors, LLC)

             o Erwin Sredni (Membership interest in Moncler Motors, LLC)

        BOE 25014, LLC (Plaintiff)

             o Erwin Sredni Excess Trust (Subscriber in BOE 25014, LLC)

             o Jonatan Sredni (Subscriber in BOE 25014, LLC)

             o Ronald Vogel (Subscriber in BOE 25014, LLC)

        BOE 30868, LLC (Plaintiff)

             o Brian Gilderman (Subscriber in BOE 30868, LLC)

             o Ozzie Schindler (Subscriber in BOE 30868, LLC)

             o Jay Goldman (Subscriber in BOE 30868, LLC)

             o Marital Trust Under T Meyerson Trust: Joel Meyerson (Subscriber in BOE 30868,

                LLC)

             o Tal Alexander (Subscriber in BOE 30868, LLC)

             o Oren Alexander (Subscriber in BOE 30868, LLC)

             o Marlyn Klepach (Subscriber in BOE 30868, LLC)

             o Jonatan Sredni (Subscriber in BOE 30868, LLC)

             o Erwin Sredni Excess Trust: Erwin Sredni (Subscriber in BOE 30868, LLC)

        BOE 30874, LLC (Plaintiff)

             o Erwin Sredni Excess Trust: Erwin Sredni (Subscriber in BOE 30874, LLC)

             o Isaac Sredni (Subscriber in BOE 30874, LLC)

             o Jay Goldman (Subscriber in BOE 30874, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 4 of 15




            o Jay Novetsky (Subscriber in BOE 30874, LLC)

            o Marlyn Klepach (Subscriber in BOE 30874, LLC)

            o Jonatan Sredni (Subscriber in BOE 30874, LLC)

            o Marital Trust Under T Meyerson Trust: Joel Meyerson (Subscriber in BOE 30874,

                LLC)

        BOE 30875, LLC (Plaintiff)

            o Marital Trust Under T Meyerson Trust: Joel Meyerson (Subscriber in BOE 30875,

                LLC)

            o Jay Goldman (Subscriber in BOE 30875, LLC)

        BOE 34432, LLC (Plaintiff)

            o Leon Behar & Rita Behar (Subscriber in BOE 34432, LLC)

            o Caren Sredni Family trust (Subscriber in BOE 34432, LLC)

            o Marital Trust Under T Meyerson Trust: Joel Meyerson (Subscriber in BOE 34432,

                LLC)

            o Aurelle Properties, LLC - Isaac Sredni (Subscriber in BOE 34432, LLC)

            o Michael Weisser (Subscriber in BOE 34432, LLC)

            o Jonatan Sredni (Subscriber in BOE 34432, LLC)

            o Erwin Sredni Excess Trust: Erwin Sredni (Subscriber in BOE 34432, LLC)

        Dash 4542 LLC (Plaintiff)

            o Erwin Sredni Excess Trust (Subscriber in Dash 4542 LLC)

            o Saniva- Rochell Tabacinic (Subscriber in Dash 4542 LLC)

            o Jonatan Sredni (Subscriber in Dash 4542 LLC)

            o Caren Sredni Family Trust (Subscriber in Dash 4542 LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 5 of 15




        Dash 4554 LLC (Plaintiff)

            o Erwin Sredni Excess Trust (Subscriber in Dash 4554 LLC)

            o Saniva- Rochell Tabacinic (Subscriber in Dash 4554 LLC)

            o Jonatan Sredni (Subscriber in Dash 4554 LLC)

            o Caren Sredni Family Trust (Subscriber in Dash 4554 LLC)

        Dash 4555 LLC (Plaintiff)

            o Erwin Sredni Excess Trust (Subscriber in Dash 4555 LLC)

            o Saniva- Rochell Tabacinic (Subscriber in Dash 4555 LLC)

            o Jonatan Sredni (Subscriber in Dash 4555 LLC)

            o Caren Sredni Family Trust (Subscriber in Dash 4555 LLC)

  CMG entities:

        CMG 777Escrow3, LLC (Plaintiff)

            o Jeffrey A. Gidney (Membership Interest in CMG 777Escrow3, LLC)

            o Michael Silver (Membership Interest in CMG 777Escrow3, LLC)

            o Sidney Pertnoy (Membership Interest in CMG 777Escrow3, LLC)

            o Nadine Pertnoy (Membership Interest in CMG 777Escrow3, LLC)

            o Jeffrey Pertnoy (Membership Interest in CMG 777Escrow3, LLC)

            o Terry M. Goldberg (Membership Interest in CMG 777Escrow3, LLC)

            o Diane K. Goldberg (Membership Interest in CMG 777Escrow3, LLC)

            o Claude Chemtov Revocable Trust UTD 12/21/98 (Membership Interest in CMG

                  777Escrow3, LLC)

            o Ileen M. Stein Revocable Trust under agreement dated 9/15/93 (Membership

                  Interest in CMG 777Escrow3, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 6 of 15




           o Uzi Zohar (Membership Interest in CMG 777Escrow3, LLC)

           o Tova Zohar (Membership Interest in CMG 777Escrow3, LLC)

           o Jerald Burns (Membership Interest in CMG 777Escrow3, LLC)

           o Ronnie Burns (Membership Interest in CMG 777Escrow3, LLC)

           o Miregli Investments LLC (Membership Interest in CMG 777Escrow3, LLC)

           o Quantum Family, LLC (Membership Interest in CMG 777Escrow3, LLC)

           o The Jennifer Lynn Chemtov Revocable Trust dated 4/8/2008 (Membership Interest

              in CMG 777Escrow3, LLC)

           o Jaer Investments LLC (Membership Interest in CMG 777Escrow3, LLC)

           o Jay Klein (Membership Interest in CMG 777Escrow3, LLC)

           o Cheryl Cason Mandala (Membership Interest in CMG 777Escrow3, LLC)

           o Ronit Duwek (Membership Interest in CMG 777Escrow3, LLC)

           o Cinnamon Investments, Ltd. (Membership Interest in CMG 777Escrow3, LLC)

           o Breton Investments, LLC (Membership Interest in CMG 777Escrow3, LLC)

           o Gilad Goldenholz (Membership Interest in CMG 777Escrow3, LLC)

           o Nelsa Gidney (Membership Interest in CMG 777Escrow3, LLC)

           o Rachel Ann Borkin Irrevocable Trust dated 4/8/2008 (Membership Interest in CMG

              777Escrow3, LLC)

           o The Bevy Yuz Trust dated 4/16/2008 (Membership Interest in CMG 777Escrow3,

              LLC)

           o Raphael Kolb (Membership Interest in CMG 777Escrow3, LLC)

           o Lior Zohar (Membership Interest in CMG 777Escrow3, LLC)

           o Erica Zohar (Membership Interest in CMG 777Escrow3, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 7 of 15




           o Lori Hatfield Chez (Membership Interest in CMG 777Escrow3, LLC)

           o Global Development & Investment LLC (Membership Interest in CMG

              777Escrow3, LLC)

           o SRG One, Inc. (Membership Interest in CMG 777Escrow3, LLC)

           o Global Food Industries Inc. Profit Sharing & Employees Savings Plan

              (Membership Interest in CMG 777Escrow3, LLC)

           o Rodney C. Fetaya (Membership Interest in CMG 777Escrow3, LLC)

           o Jody Goldberg (Membership Interest in CMG 777Escrow3, LLC)

           o The Susan Fredel Revocable Trust Dated October 23, 2014 (Membership Interest

              in CMG 777Escrow3, LLC)

           o Adam David Simon (Membership Interest in CMG 777Escrow3, LLC)

           o Dror Zadok (Membership Interest in CMG 777Escrow3, LLC)

           o Miriam Zadok (Membership Interest in CMG 777Escrow3, LLC)

           o Joel Levy (Membership Interest in CMG 777Escrow3, LLC)

           o Paula Levy (Membership Interest in CMG 777Escrow3, LLC)

           o M & R International Investments, LLC (Membership Interest in CMG 777Escrow3,

              LLC)

           o The Brenda Marlene Chemtov Revocable Trust Dated May 23, 2013 (Membership

              Interest in CMG 777Escrow3, LLC)

           o South Florida Assets, Ltd. (Membership Interest in CMG 777Escrow3, LLC)

           o Scemla Investments, LLC (Membership Interest in CMG 777Escrow3, LLC)

           o Shawn And Heather Investments, LLC (Membership Interest in CMG 777Escrow3,

              LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 8 of 15




           o Masai Mara, S.A. (Membership Interest in CMG 777Escrow3, LLC)

           o Riml LLC (Membership Interest in CMG 777Escrow3, LLC)

           o Ashbury Capital, LLC (Membership Interest in CMG 777Escrow3, LLC)

           o The Isaac Benoliel Irrevocable Trust (Membership Interest in CMG 777Escrow3,

              LLC)

           o The Sarah Benoliel Irrevocable Trust (Membership Interest in CMG 777Escrow3,

              LLC)

           o The Daniel Benoliel Irrevocable Trust (Membership Interest in CMG 777Escrow3,

              LLC)

           o The David Benoliel Irrevocable Trust (Membership Interest in CMG 777Escrow3,

              LLC)

           o Arlyn Cypen (Membership Interest in CMG 777Escrow3, LLC)

           o Elevation Bed Real Estate, LLC (Membership Interest in CMG 777Escrow3, LLC)

           o Fortythree Properties, LLC (Membership Interest in CMG 777Escrow3, LLC)

           o Biscayne 75 LLC (Membership Interest in CMG 777Escrow3, LLC)

           o Rhonda Klein (Membership Interest in CMG 777Escrow3, LLC)

           o The M&R Distributors International, Inc. Defined Benefit Plan (Membership

              Interest in CMG 777Escrow3, LLC)

           o Patsy Snaider De Btesh (Membership Interest in CMG 777Escrow3, LLC)

           o Tayler, S.A. (Membership Interest in CMG 777Escrow3, LLC)

           o Liberty Stone Foundation (Membership Interest in CMG 777Escrow3, LLC)

           o Clement Hil Goldberg (Membership Interest in CMG 777Escrow3, LLC)

           o Randall Bodner (Membership Interest in CMG 777Escrow3, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 9 of 15




            o Daniel Benoliel (Membership Interest in CMG 777Escrow3, LLC)

            o Magito, LLC (Membership Interest in CMG 777Escrow3, LLC)

            o Sunset Holdings Foundation (Membership Interest in CMG 777Escrow3, LLC)

            o Craftmatic Holdings, Inc. (Membership Interest in CMG 777Escrow3, LLC)

            o David Benoliel (Membership Interest in CMG 777Escrow3, LLC)

        CMG 777Escrow4 LLC (Plaintiff)

            o The Susan Fredel Revocable Trust Dated October 23, 2014 (Membership Interest

               in CMG 777Escrow4, LLC)

            o Diane K. Goldberg (Membership Interest in CMG 777Escrow4, LLC)

            o Terry Goldberg (Membership Interest in CMG 777Escrow4, LLC)

            o Jaer Investments, LLC (Membership Interest in CMG 777Escrow4, LLC)

            o Marc Douglas Kovens (Membership Interest in CMG 777Escrow4, LLC)

            o Uzi Zohar (Membership Interest in CMG 777Escrow4, LLC)

            o Tova Zohar (Membership Interest in CMG 777Escrow4, LLC)

            o The Brenda Marlene Chemtov Revocable Trust Dated May 23, 2013 (Membership

               Interest in CMG 777Escrow4, LLC)

            o SRG One, Inc. (Membership Interest in CMG 777Escrow4, LLC)

            o The Chemtov Family Irrevocable Trust U/A/D March 30, 1999 (Membership

               Interest in CMG 777Escrow4, LLC)

            o The Rachel Anne Borkon Irrevocable Trust Dated 4/8/08 (Membership Interest in

               CMG 777Escrow4, LLC)

            o The Jennifer Lynn Chemtov Revocable Living Trust Dated 4/8/08 (Membership

               Interest in CMG 777Escrow4, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 10 of 15




             o Quantum Family LLC (Membership Interest in CMG 777Escrow4, LLC)

             o South Florida Assets, Ltd. (Membership Interest in CMG 777Escrow4, LLC)

             o Ronen Arai (Membership Interest in CMG 777Escrow4, LLC)

             o Minkoff Family Investment Club, LLC (Membership Interest in CMG

                777Escrow4, LLC)

             o Global Development & Investment, LLC (Membership Interest in CMG

                777Escrow4, LLC)

             o Cinnamon Investments, Ltd. (Membership Interest in CMG 777Escrow4, LLC)

             o Bam Investments LLC (Membership Interest in CMG 777Escrow4, LLC)

             o Arlyn Cypen (Membership Interest in CMG 777Escrow4, LLC)

             o Liberty Stone Foundation (Membership Interest in CMG 777Escrow4, LLC)

             o Nelsa Gidney (Membership Interest in CMG 777Escrow4, LLC)

             o Randie Siegel (Membership Interest in CMG 777Escrow4, LLC)

             o Karen Siegel (Membership Interest in CMG 777Escrow4, LLC)

         CMG 777Escrow5 LLC (Plaintiff)

             o The Susan Fredel Revocable Trust Dated October 23, 2014 (Membership Interest

                in CMG 777Escrow5, LLC)

             o Inmobiliaria Humboldt, S.A. (Membership Interest in CMG 777Escrow5, LLC)

             o Marc Douglas Kovens (Membership Interest in CMG 777Escrow5, LLC)

             o Ronitdouek (Membership Interest in CMG 777Escrow5, LLC)

             o The Rachel Anne Borkon Irrevocable Trust Dated 4/8/08 (Membership Interest in

                CMG 777Escrow5, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 11 of 15




            o The Jennifer Lynn Chemtov Revocable Living Trust Dated 4/8/08 (Membership

               Interest in CMG 777Escrow5, LLC)

            o Liberty Stone Foundation (Membership Interest in CMG 777Escrow5, LLC)

            o Sunset Holdings Foundation (Membership Interest in CMG 777Escrow5, LLC)

            o Diane K. Goldberg (Membership Interest in CMG 777Escrow5, LLC)

            o Terry Goldberg (Membership Interest in CMG 777Escrow5, LLC)

            o Quantum Family LLC (Membership Interest in CMG 777Escrow5, LLC)

            o The Brenda Marlene Chemtov Revocable Trust Dated May 23, 2013 (Membership

               Interest in CMG 777Escrow5, LLC)

            o Raphael Kolb (Membership Interest in CMG 777Escrow5, LLC)

            o The Claude Chemtov Revocable Trust Utd 12/21/98

            o The Bevy Yuz Trust Dated April 16, 2008 (Membership Interest in CMG

               777Escrow5, LLC)

            o SRG One, Inc. (Membership Interest in CMG 777Escrow5, LLC)

            o Cinnamon Investments, Ltd. (Membership Interest in CMG 777Escrow5, LLC)

            o Breton Investments, LLC (Membership Interest in CMG 777Escrow5, LLC)

            o Adam Simon (Membership Interest in CMG 777Escrow5, LLC)

            o Rhonda Shapiro Klein (Membership Interest in CMG 777Escrow5, LLC)

            o Jay Klein (Membership Interest in CMG 777Escrow5, LLC)

            o Arlyn Cypen (Membership Interest in CMG 777Escrow5, LLC)

            o Kapson USA, LLC (Membership Interest in CMG 777Escrow5, LLC)

            o Jonathan Hoffman (Membership Interest in CMG 777Escrow5, LLC)

            o Joel Levy (Membership Interest in CMG 777Escrow5, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 12 of 15




            o Paula Levy (Membership Interest in CMG 777Escrow5, LLC)

            o Minkoff Family Investment Club, LLC (Membership Interest in CMG

               777Escrow5, LLC)

            o The Carol Minkoff 2012 Irrevocable Trust Dated 9/30/12 (Membership Interest in

               CMG 777Escrow5, LLC)

            o The Caroll Minkoff Trust Dated 06/16/2010 (Membership Interest in CMG

               777Escrow5, LLC)

            o The Sylvia Minkoff Flagler Bam Trust Dated 12/26/2012 (Membership Interest in

               CMG 777Escrow5, LLC)

            o Bam Investments LLC (Membership Interest in CMG 777Escrow5, LLC)

            o Barry Minkoff Self Directed, LLC (Membership Interest in CMG 777Escrow5,

               LLC)

            o The GST Nonexempt Marital Trust Under The Nancy H. Minkoff Trust Dated

               4/1/15 (Membership Interest in CMG 777Escrow5, LLC)

            o RCM Investments LLC (Membership Interest in CMG 777Escrow5, LLC)

            o RCM Investments Roth IRA LLC (Membership Interest in CMG 777Escrow5,

               LLC)

            o Ashbury Capital, LLC (Membership Interest in CMG 777Escrow5, LLC)

            o RSRTH, LLC (Membership Interest in CMG 777Escrow5, LLC)

            o Kraftsow Family Investment Limited Partnership (Membership Interest in CMG

               777Escrow5, LLC)

            o Craftmatic Holding, Inc. (Membership Interest in CMG 777Escrow5, LLC)

            o Diana Racquel Abadi Btesh (Membership Interest in CMG 777Escrow5, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 13 of 15




              o Frida Harari Crispin De Sasson (Membership Interest in CMG 777Escrow5, LLC)

              o Jody L. Goldberg (Membership Interest in CMG 777Escrow5, LLC)

              o Mark A. Mutchnick (Membership Interest in CMG 777Escrow5, LLC)

              o The Brett Gidney Gift Trust (Membership Interest in CMG 777Escrow5, LLC)

         CMG DHC8Escrow7, LLC (Plaintiff)

              o Raphael Kolb (Membership Interest in CMG DHC8Escrow7, LLC)

              o Laura Cresto Parker (Membership Interest in CMG DHC8Escrow7, LLC)

              o Marc Kovens (Membership Interest in CMG DHC8Escrow7, LLC)

              o Elevation Bed Real Estate, LLC (Membership Interest in CMG DHC8Escrow7,

                 LLC)

              o Dror Zadok (Membership Interest in CMG DHC8Escrow7, LLC)

              o Miriam Zadok (Membership Interest in CMG DHC8Escrow7, LLC)

              o Kensington Direct, LLC (Membership Interest in CMG DHC8Escrow7, LLC)

              o Kapson USA, LLC (Membership Interest in CMG DHC8Escrow7, LLC)

              o Kuki Capital, LLC (Membership Interest in CMG DHC8Escrow7, LLC)

              o Diane K. Goldberg (Membership Interest in CMG DHC8Escrow7, LLC)

              o Terry Goldberg (Membership Interest in CMG DHC8Escrow7, LLC)

              o Cinnamon Investments, Ltd. (Membership Interest in CMG DHC8Escrow7, LLC)

              o Minkoff Family Investment Club, LLC (Membership Interest in CMG

                 DHC8Escrow7, LLC)

   Bayside entity:

         Bayside Support Services, LLC (Plaintiff)

              o Jordan Levinson (Membership Interest in Bayside Support Services, LLC)
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 14 of 15




                o Jason Zimmerman (Membership Interest in Bayside Support Services, LLC)

                o Philip Gatt (Membership Interest in Bayside Support Services, LLC)

                o Bryan Lipscomb (Membership Interest in Bayside Support Services, LLC)

   Edidin entity:

          Edidin Partners, LLC (Plaintiff)

                o Eric Ediden (Membership interest in Ediden entity)

                o Yvette Ediden (Membership interest in Ediden entity)

   Defendant:

          Bank of America, N.A. (Defendant)

                o BANA Holding Corporation (Parent Corporation)

                o BAC North America Holding Company (Parent Corporation)

                o NB Holdings Corporation (Parent Corporation)

                o Bank of America Corporation (Parent Corporation)



                                                        /s/ Carlos Sires
                                                            Carlos Sires, Esq.



                                      CERTIFICATE OF SERVICE

           I hereby certify that on August 26, 2022, a true and correct copy of the foregoing document

   was electronically filed through the Court’s CM/ECF portal, which will send a notice of electronic

   filing to all counsel of record.

                                                        /s/ Carlos Sires
                                                            Carlos Sires, Esq.
                                                            Fla. Bar No. 319333
                                                            Pascual Oliu, Esq.
                                                            Fla. Bar No. 107737
Case 1:22-cv-22541-BER Document 22 Entered on FLSD Docket 08/29/2022 Page 15 of 15




                                              Stuart Singer, Esq.
                                              Fla. Bar No. 377325
                                              BOIES SCHILLER FLEXNER LLP
                                              401 East Las Olas Blvd., Suite 1200
                                              Fort Lauderdale, FL 33316
                                              Telephone: (954) 356-0011
                                              Facsimile: (954) 356-0022
                                              csires@bsfllp.com
                                              poliu@bsfllp.com
                                              ssinger@bsfllp.com
